                                               Case 8:22-ml-03052-JVS-KES             Document 813 Filed 04/14/25     Page 1 of 3 Page ID
                                                                                           #:22919


                                                          1   JENNER & BLOCK LLP
                                                              Kate T. Spelman (SBN 151081)
                                                          2   KSpelman@jenner.com
                                                              Alice S. Kim (SBN 317479)
                                                          3   AKim@jenner.com
                                                              Madeline P. Skitzki (SBN 318233)
                                                          4   MSkitzki@jenner.com
                                                              Jenna L. Conwisar (SBN 341521)
                                                          5   JConwisar@jenner.com
                                                              515 South Flower Street, Suite 3300
                                                          6   Los Angeles, CA 90071-2246
                                                              Tel.: (213) 239-5100 / Fax: (213) 239-5199
                                                          7
                                                            JENNER & BLOCK LLP
                                                          8 Peter J. Brennan (pro hac vice)
                                                            PBrennan@jenner.com
                                                          9 Michael T. Brody (pro hac vice)
                                                            MBrody@jenner.com
                                                         10 353 North Clark Street
                                                            Chicago, IL 60654-3456
                                                         11 Tel.: (312) 222-9350 / Fax: (312) 527-0484
                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                         12 CALLAHAN & BLAINE, PC
                       A PROFESSIONAL LAW CORPORATION
CALLAHAN & BLAINE




                                                            Edward Susolik (SBN 151081)
                         SANTA ANA, CALIFORNIA 92707
                          TELEPHONE: (714 ) 2 41-4444
                           WWW.CAL LA HA N-LA W.COM




                                                         13 ES@callahan-law.com
                                                            John D. Van Ackeren (SBN 240739)
                                                         14 jvanackeren@callahan-law.com
                                                            3 Hutton Centre Drive, Ninth Floor
                                                         15 Santa Ana, California 92707
                                                            Tel.: (714) 241-4444 / Fax: (714) 241-4445
                                                         16

                                                         17   Attorneys for Defendants
                                                         18
                                                                                  UNITED STATES DISTRICT COURT
                                                         19
                                                                                 CENTRAL DISTRICT OF CALIFORNIA
                                                         20

                                                         21
                                                            In re: KIA HYUNDAI VEHICLE                     CASE NO. 8:22-ML-03052-JVS(KESx)
                                                         22 THEFT MARKETING, SALES                         Judge:   Hon. James V. Selna
                                                            PRACTICES, AND PRODUCTS
                                                         23 LIABILITY LITIGATION,                          NOTICE OF LODGING THE
                                                                                                           DISCOVERY SPECIAL MASTER’S
                                                         24                                                REPORT AND RECOMMENDATION
                                                                                                           AND [PROPOSED] ORDER RE:
                                                         25   This document relates to:                      (1) DEFENDANTS’ MOTION TO
                                                                                                                 COMPEL FURTHER
                                                         26   ALL SUBROGATION CASES,                             RESPONSES TO RFP, SET NO.
                                                                                                                 2, AND CONTEMPT AND
                                                         27                                                      SANCTIONS
                                                                                                             (2) DEFENDANTS’ MOTION TO
                                                         28                                                      COMPEL FURTHER


                                                                                           NOTICE OF LODGING
                                               Case 8:22-ml-03052-JVS-KES   Document 813 Filed 04/14/25   Page 2 of 3 Page ID
                                                                                 #:22920


                                                          1                                        RESPONSES TO RFP, SET
                                                                                                   NOS. 3 & 5
                                                          2                                    (3) DEFENDANTS’ MOTION TO
                                                                                                   COMPEL 30(B)(6)
                                                          3                                        DEPOSITION RE
                                                                                                   UNDERWRITING
                                                          4                                    (4) PLAINTIFF STATE FARM’S
                                                                                                   MOTION FOR PROTECTIVE
                                                          5                                        ORDER
                                                          6                                 Complaint Filed: December 22, 2022
                                                          7

                                                          8

                                                          9

                                                         10

                                                         11
                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                         12
                       A PROFESSIONAL LAW CORPORATION
CALLAHAN & BLAINE

                         SANTA ANA, CALIFORNIA 92707
                          TELEPHONE: (714 ) 2 41-4444
                           WWW.CAL LA HA N-LA W.COM




                                                         13

                                                         14

                                                         15

                                                         16

                                                         17

                                                         18

                                                         19

                                                         20

                                                         21

                                                         22

                                                         23

                                                         24

                                                         25

                                                         26

                                                         27

                                                         28


                                                                                NOTICE OF LODGING
                                               Case 8:22-ml-03052-JVS-KES              Document 813 Filed 04/14/25      Page 3 of 3 Page ID
                                                                                            #:22921


                                                          1         Defendants Hyundai Motor America and Kia America, Inc., by and through
                                                          2   undersigned counsel, hereby lodge the Discovery Special Master’s Report and
                                                          3   Recommendation and [Proposed] Order Re: (1) Defendants’ Motion to Compel
                                                          4   Further Responses to RFP, Set No. 2, and Contempt and Sanctions (2) Defendants’
                                                          5   Motion to Compel Further Responses to RFP, Set Nos. 3 & 5 (3) Defendants’
                                                          6   Motion to Compel 30(B)(6) Deposition Re Underwriting (4) Plaintiff State Farm’s
                                                          7   Motion for Protective Order, a copy of which is attached hereto as Exhibit 1.
                                                          8

                                                          9
                                                              Dated: April 14, 2025                CALLAHAN & BLAINE, PC
                                                         10

                                                         11                                        By:
                                                                                                         Edward Susolik
                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                         12                                              John D. Van Ackeren
                       A PROFESSIONAL LAW CORPORATION
CALLAHAN & BLAINE

                         SANTA ANA, CALIFORNIA 92707




                                                                                                         Attorneys for Defendants
                          TELEPHONE: (714 ) 2 41-4444
                           WWW.CAL LA HA N-LA W.COM




                                                         13                                              HYUNDAI MOTOR COMPANY and
                                                                                                         KIA CORPORATION
                                                         14

                                                         15

                                                         16

                                                         17

                                                         18

                                                         19

                                                         20

                                                         21

                                                         22

                                                         23

                                                         24

                                                         25

                                                         26

                                                         27

                                                         28

                                                                                                     -1-
                                                                                            NOTICE OF LODGING
